Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document     Page 1 of 40



So Ordered.

Signed this 29 day of August, 2023.



                                       _______________________________
                                         Robert E. Littlefield, Jr.
                                          United States Bankruptcy Judge
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document     Page 2 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document     Page 3 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document     Page 4 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document     Page 5 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document     Page 6 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document     Page 7 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document     Page 8 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document     Page 9 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 10 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 11 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 12 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 13 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 14 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 15 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 16 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 17 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 18 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 19 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 20 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 21 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 22 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 23 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 24 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 25 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 26 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 27 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 28 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 29 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 30 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 31 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 32 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 33 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 34 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 35 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 36 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 37 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 38 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 39 of 40
Case 23-10244-1-rel   Doc 447 Filed 08/29/23 Entered 08/29/23 09:24:00   Desc
                        Main Document    Page 40 of 40
